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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

BERTRUM JEAN, Individually and as the      §
surviving father of BOTHAM SHEM JEAN,      §
ALLISON A. JEAN, Individually and as the   §
surviving mother of BOTHAM SHEM            §
JEAN, and ALLISA E. FINDLEY as the         §
Administrator of the Estate of BOTHAM      §                     CIVIL ACTION NO.
SHEM JEAN,                                 §
                                           §                          3:18-CV-2862-M
       Plaintiffs                          §
v.                                         §
                                           §
THE CITY OF DALLAS and AMBER               §
GUYGER,                                    §
                                           §
       Defendants                          §


     PLAINTIFFS’ RESPONSE TO DEFENDANT CITY OF DALLAS’S MOTION
      PURSUANT TO RULE 12(b)(6) TO DISMISS THE PLAINTIFFS’ CLAIMS
      ALLEGED AGAINST IT IN THE PLAINTIFFS’ ORIGINAL COMPLAINT


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           Plaintiffs Bertrum Jean and Allison Jean, individually and as the surviving parents

of Botham Jean, and Allisa E. Findley, as the Administrator of the Estate of Botham Jean, file

this Response to Defendant the City of Dallas’s Rule 12(b)(6) Motion to Dismiss Plaintiffs’

Original Complaint and Brief in Support (Doc. 7) (the “Motion”). The City’s Motion

should be denied for the following reasons:

                                            I.       INTRODUCTION

           When Amber Guyger fatally shot Botham Jean on September 6, 2018, she became

the latest among the numerous Dallas police officers in recent years who have used

deadly force against citizens when no imminent threat of harm existed. Jean’s family filed

suit against the City of Dallas (the “City”) on October 27, 2018. (Doc. 5). Now, the City

has moved to dismiss their municipal liability cause of action,1 contending that Plaintiffs’

claims—that Botham Jean’s death was caused by the City’s policy to “shoot first and ask

questions later” and by the City’s failure to train, supervise, or discipline its officers—are

not plausible. (Doc. 7 at 8).

           The City’s persistent, widespread pattern of unlawful police officer shootings

reveals the inadequacies of the City’s training and discipline of its officers, as well as the

City’s unwritten policy and custom of using deadly force where no immediate threat of

harm exists. (Doc. 5 at ¶ 66). Jean was not the first unarmed person of color Guyger

unlawfully shot. In 2017, during a traffic stop, Guyger was attempting to view a woman’s




1   Notably, the City does not question the sufficiency of Plaintiffs’ pleading of a constitutional violation.




                                                         1
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identification when a man who was also in the car allegedly tried to take Guyger’s taser.2

Guyger shot Uvaldo Perez, who was also unarmed. (Id.). However, the City never

disciplined Guyger or required she attend any special training after the first shooting

which, along with her shooting of Jean, occurred within her first four years as a police

officer. (Id.). It was not until well-after Jean’s homicide—and only then after substantial

public outcry—that the City terminated Guyger. (Doc. 5 at ¶ 60). Before even

investigating Jean’s death, the City’s first, knee-jerk reaction was to protect Guyger and

publicly defend her conduct, even as the City permitted Guyger to destroy or conceal

evidence potentially unfavorable to her. (Id. at ¶¶ 24–25).

        As shown below, Plaintiffs have adequately pled a claim for municipal liability

against the City. The City’s challenge to those pleadings should be, in all things, denied.

                              II.    ARGUMENT & AUTHORITIES

A.      Standard applicable to the City’s Rule 12(b)(6) motion.

        Motions to dismiss under Rule 12(b)(6) “are viewed with disfavor and are rarely

granted.” Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 231 (5th Cir. 2009) (quoting Test Masters

Educ. Servs., Inc. v. Singh, 428 F.3d 559, 570 (5th Cir. 2005)). A complaint will not be dismissed

merely because it contains an imperfect statement of the legal theory supporting the claim

asserted. Johnson v. City of Shelby, 135 S. Ct. 346, 346 (2014). Federal pleading rules simply




2Dana Branham & Naomi Martin, Dallas Officer Who Shot Man in his Own Apartment was Involved in 2017
Shooting   of   a   Suspect,   DALLASNEWS.COM         (Sept.  9, 2018, 8:30  pm),    available   at
https://www.dallasnews.com/news/dallas-police/2018/09/08/dallas-officer-shot-man-apartment-
involved-2017-shooting-suspect (last accessed Dec. 19, 2018).



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call for “a short and plain statement of the claim showing that the pleading is entitled to

relief.” Id. (citing Fed. R. Civ. P. 8(a)(2)).

           A court must first distill well-pleaded factual allegations, whose truth is presumed,

from any unsupported legal conclusions, whose truth cannot be assumed. See, e.g., Doe v.

Robertson, 751 F.3d 383, 388 (5th Cir. 2014). When there are well-pleaded factual allegations,

a court should assume their veracity and then determine whether they plausibly give rise

to an entitlement to relief. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). A complaint must fail if

it offers only “naked assertions devoid of further factual enhancement.” Id. at 678.

Importantly, the Court should not evaluate the merits of the allegation, but satisfy itself only

that plaintiff has adequately pled a legally cognizable claim. United States ex rel. Riley v. St.

Luke’s Episcopal Hosp., 355 F.3d 370, 376 (5th Cir. 2004).

B.         Pleading standard applicable to municipal liability claims.

           The City seems to criticize virtually every aspect of the Plaintiffs’ municipal

liability claim. In doing so, the City largely ignores Plaintiffs’ actual pleadings and the

standards applicable to the pleading of a municipal liability claim. Accordingly, a

discussion of both is warranted here, as context makes it rather clear that Plaintiffs have

adequately pled their claims against the City.

           To hold a municipality liable under section 1983 (i.e., Monell3 liability), a plaintiff

must establish three essential elements: (1) a policymaker; (2) an official policy; and (3) a

violation of a constitutional right whose “moving force” is the policy or custom. Alvarez




3   Monell v. Dep’t of Soc. Servs. of the City of New York, 436 U.S. 658, 694 (1978).


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v. City of Brownsville, 904 F.3d 382, 389 (5th Cir. 2018). An official policy can take the form

of a written policy, ordinance, or regulation; or an official policy can arise in the form of

a widespread practice that is so common and well-settled as to constitute a custom that

fairly represents municipal policy. Id. at 389–90. That policy, in turn, must be the “moving

force” behind the constitutional violation. Id. at 390. In all, these elements “distinguish

individual violations perpetrated by local government employees from those that can be

fairly identified as actions of the government itself.” Piotrowski v. City of Houston, 237 F.3d

567, 578 (5th Cir. 2001).

         1.      Plaintiffs need not precisely identify the specific policy or policymaker.

         An important question, in the Rule 12(b)(6) context, becomes the standard to be

applied to municipal liability pleadings in light of Iqbal 4 and Twombly. 5 Generally

speaking, Iqbal and Twombly establish a heightened standard for federal pleadings. In

Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit—decided before

Iqbal and Twombly—the Supreme Court refused to apply a heightened pleading standard

to section 1983 claims against municipalities. 6 Leatherman, 507 U.S. 163, 168 (1993).

Despite seeming to conflict somewhat with Iqbal and Twombly, Leatherman remains good

law and, as such, courts have decided to apply a less onerous pleading standard to

municipal liability claims in light of Leatherman.




4 Ashcroft v. Iqbal, 556 U.S. 662 (2009).
5 Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).
6 Such claims must allege facts supporting three essential elements: (1) a policymaker; (2) an official policy;

and (3) a violation of a constitutional right whose “moving force” is the policy or custom. Alvarez v. City of
Brownsville, 904 F.3d 382, 389 (5th Cir. 2018); see also Monell v. Dep’t of Soc. Servs. of the City of New York, 436
U.S. 658, 694 (1978).


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       Courts attempting to reconcile these cases have recognized that, before discovery,

it is incredibly rare that a plaintiff will have access to (or personal knowledge of) specific

details about the existence or absence of internal policies or practices that led to the

constitutional violation. See Thomas v. City of Galveston, Tex., 800 F. Supp. 2d 826, 842 (S.D.

Tex. 2011); see also Brown v. City of Houston, 297 F. Supp. 3d 748, 767 (S.D. Tex. 2017);

Sanchez v. Gomez, 283 F. Supp. 3d 524, 532 (W.D. Tex. 2017); E.G. v. Bond, Civ. No. 1:16-

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adopted by Civ. No. 1:16-CV-068-C, 2017 WL 129019 (N.D. Tex. Jan. 13, 2017).

Accordingly, while surviving a motion to dismiss requires “more than boilerplate

allegations” and mere recitations of the elements, courts have not required plaintiffs

alleging that an official policy exists to plead “specific facts that prove the existence of a

policy.” Schaefer v. Whitted, 121 F. Supp. 3d 701, 718 (W.D. Tex. 2015) (emphasis added).

Thus, a municipal liability claim complies with Twombly and Iqbal where the complaint

contains at least some further detail, such as “the specific topic of the challenged policy or

training inadequacy” that caused the constitutional injury. Wright v. Denison Indep. Sch.

Dist., No. 4:16-CV-615, 2017 WL 2262778, at *4 (E.D. Tex. May 24, 2017); see also Flanagan v.

City of Dallas, Tex., 48 F. Supp. 3d 941, 947 (N.D. Tex. 2014) (quoting Twombly and Iqbal).

       Further, the Fifth Circuit does not require a plaintiff to identify “the specific identity

of the policymaker” to survive a motion to dismiss. Groden v. City of Dallas, 826 F.3d 280, 284

(5th Cir. 2016). “[T]he specific identity of the policymaker is a legal question that need not

be pled; the complaint need only allege facts that show an official policy, promulgated or

ratified by the policymaker, under which the municipality is said to be liable.” Id. At the


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pleading stage, therefore Plaintiffs need only allege that a policymaker for the City

promulgated or ratified the policies or inadequacies that Plaintiffs alleged caused the

constitutional injury.

           2.       Plaintiffs need not show that that the policymaker actually intended the
                    constitutional injury.

           To sufficiently allege a “moving force,” plaintiffs must plead facts supporting a

direct causal link between the targeted policy and the constitutional violation. Alvarez,

904 F.3d at 390. Unless the policy is determined to be unconstitutional on its face,

plaintiffs must allege that an otherwise facially innocuous policy or custom was

implemented with “deliberate indifference” to the “known or obvious consequence” that

a constitutional violation would result. Piotrowski, 237 F.3d at 579. “Deliberate

indifference” is pleaded by alleging that the policymaker was aware of facts from which

it could infer the policy or custom posed a substantial risk of serious harm. FlanaganError!

Bookmark not defined., 48 F. Supp. 2d at 957 (citing Smith v. Brenoettsy, 158 F.3d 908, 912

(5th Cir. 1998)).

           While courts have held that an official must actually “draw the inference” that

conduct poses a substantial risk of serious harm,7 the City asks this Court to impose an

additional element on the deliberate-indifference standard: that the “official’s response

indicates the official subjectively intended that harm occur.” (Doc. 7 at 14) (quoting

Hartzog v. Hackett, 711 F. App’x 235, 235–36 (5th Cir. 2018). However, Judge Boyle in Dyer




7   See Estate of Davis ex rel. McCully v. City of N. Richland Hills, 406 F.3d 375, 381 (5th Cir. 2005).



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v. Fyall expressly rejected this “actual-intent-to-harm” element, explaining that some

Fifth Circuit panels have incorrectly relied on another case, Hare v. City of Corinth, as

establishing this requirement. Dyer v. Fyall, 322 F. Supp. 3d 725, 737–38 (N.D. Tex. 2018);

see also Hare v. City of Corinth, 74 F.3d 633 (5th Cir. 1996). Those cases—including Hartzog

v. Hackett, on which the City relies—have applied the deliberate-indifference standard

established in Farmer v. Brennan. See Farmer v. Brennan, 511 U.S. at 837, 842 (1994); Hartzog,

711 F. App’x 235; Thompson v. Upshur Cnty., 245 F.3d 447 (5th Cir. 2001); Hare, 74 F.3d at

633.8

         Far from approving an actual-intent standard, however, “the Supreme Court in

Farmer cast doubt on the intent-to-harm requirement,” even in the context of inmate

claims. Dyer, F. Supp. 3d at 739; see also Farmer, 511 U.S. at 835 (explaining that, while

“deliberate indifference entails something more than mere negligence, the cases are also

clear that it is satisfied by something less than acts or omissions for the very purpose of

causing harm or with knowledge that harm will result.”). Therefore, the actual-intent

element does not apply here.




8 Each of these cases applies the standard to Eighth Amendment claims involving prison inmates and (in
Hare) pretrial detainees. The concurring opinion in Hare cautioned that “(1) application of the “deliberate
indifference” test (for determining cruel and unusual punishment of convicts) to pretrial detainees’ claims
is inconsistent with prior Supreme Court decisions that detainees are guiltless individuals protected by a
broader Due Process Clause right to be free from any punishment whatsoever; and (2) even if pretrial
detainees are to be shielded only from cruel and unusual punishment as measured by the ‘deliberate
indifference’ standard, the majority opinion’s failure to consistently articulate fully the Farmer v. Brennan
definition of that standard runs the risk of affording pretrial detainees less protection from inhumane
treatment than convicted criminals.” Hare, 74 F.3d at 650–51 (Dennis, J., concurring).


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C.     Plaintiffs allege facts that, if true, state a plausible basis for municipal liability.

       1.     Plaintiffs identify the customs, practices, and policies at issue.

       At the pleading stage of the litigation, a plaintiff need not specifically state what

the municipal policy is and is permitted to rely on minimal factual allegations. Thomas,

800 F. Supp. 2d at 842-43; see also Brown, 297 F. Supp. 2d at 767; Sanchez, 283 F. Supp. 2d

at 532. Such “minimal factual allegations” can include, but are not limited to, “past

incidents of misconduct to others, multiple harms that occurred to the plaintiff himself,

misconduct that occurred in the open, the involvement of multiple officials in the

misconduct, or the specific topic of the challenged policy or training inadequacy.”

Thomas, 800 F. Supp. 2d at 843-44. In Brown, for instance, Chief Judge Rosenthal found the

plaintiff’s municipal liability allegations sufficient where he: (1) identified the relevant

policymakers—present and former district attorneys; (2) identified the relevant policy or

custom and practice—the “do whatever it takes” conviction culture; and (3) alleged that

this policy of obtaining convictions at all costs was the “moving force” behind his

unconstitutional conviction and injury. Brown, 297 F. Supp. 3d at 766.

       The Original Complaint sufficiently identifies the targeted policies and customs.

First, Plaintiffs clearly identify the specific topic of the custom or policy—to “shoot first

and ask questions later”—which was the “moving force” behind Jean’s constitutional

injuries. (See id. at ¶¶ 3, 20, 27, 64). Second, Plaintiffs also allege that Jean’s injuries were

caused by failing to adequately train DPD officers, including Guyger, regarding the

proper use of force—particularly against an unarmed civilian who poses no imminent

threat of harm (Id. at ¶¶ 2, 28). And third, Plaintiffs allege that even when officers,


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including Guyger, violated police department policy, the City failed to adequately

discipline them, or to provide them adequate supervision to prevent the same injuries

that befell Jean from recurring. (Id. at ¶ 86).

           These allegations are sufficient to provide the City with “fair notice” of Plaintiffs’

municipal liability claims and the grounds on which they rest, as well as permit this Court

to infer “more than the mere possibility of misconduct” by the City regarding its various

failures. See Iqbal, 556 U.S. at 679; Twombly, 550 U.S. at 555 n. 3. More importantly, these

allegations identify the specific topic of the alleged policy, training, or discipline

inadequacy. Accordingly, Plaintiffs have identified the customs, practices, or policies

they contend are the moving force behind the constitutional violations at issue.

           2.      Plaintiffs sufficiently identify a policymaker.

           Since a plaintiff is only required to plead facts “showing the challenged policy was

promulgated or ratified by a policymaker,”9 Plaintiffs more than satisfied that burden

here. Although not required to do so, Plaintiffs specifically allege two policymakers: (1)

“Chief of Police Renee Hall (“Chief Hall”), the policymaker for the Dallas Police

Department [“DPD”], with the authority for setting policies, including training of the

Dallas Police Officers,” and (2) “the Dallas City Council and the City Manager, vested

with all powers of the City and the determination of all matters of policy.” (Doc. 5 at ¶ 2).

As alleged, these policymakers promulgated or ratified the policies that subject the City

to Section 1983 liability.




9   Groden, 826 F.3d at 285.


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       It is further evident that, unlike what the City suggests, Plaintiff did not identify

Chief Hall as the sole policymaker. (See Doc. 7 at 8–9) (claiming that “Plaintiffs must

allege facts sufficient to allow the Court to infer that Chief Hall’s actions, as the DPD’s

final policymaker,” alone support Plaintiffs’ claims against the City). Plaintiffs’ municipal

liability claim against the City need not rest on Chief Hall’s actions alone. Nevertheless,

at this stage, Plaintiffs have sufficiently identified a policymaker.

       3.     Plaintiffs sufficiently allege that the City’s policies, customs, and
              practices were the “moving force” behind Jean’s constitutional injuries.

       For municipal liability to attach, the City’s policies, customs, or practices must be

alleged to have been the “moving force” behind the constitutional violations suffered by

the Plaintiffs. In support of this element, Plaintiffs provide far more than bare conclusory

allegations, as the City would portray them. (Doc. 7 at 1, 10, 16–18).

              a.      The City’s facially unconstitutional policy to “shoot first and ask
                      questions later.”

       Plaintiffs expressly note that it is the City’s “shoot first and ask questions later”

policy that resulted in Jean’s death. (Doc. 5 at ¶¶ 20, 27, 64). Specifically, Plaintiffs

distinguish the City’s written policy on the use of force from the City’s “de facto policy”

of using force (even deadly force) even where there is no immediate threat. (Id. at ¶27–

28). Such a policy in itself is facially unconstitutional. It is well-settled in both Supreme

Court and Fifth Circuit precedent that the use of deadly force is objectively reasonable in

only one circumstance—when the suspect poses an immediate threat to the officers or

others. See Tennessee v. Garner, 471 U.S. 1, 11 (1985); see also Flores v. City of Palacios, 381




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F.3d 391, 398 (5th Cir. 2004). This de facto policy, Plaintiffs allege, has resulted in

numerous deadly policy shootings of unarmed minorities:

              James Harper, though unarmed, was fatally shot by DPD officer Brian
              Rowden as he ran away on July 24, 2012;
             Clinton Allen, also unarmed, was fatally shot 7 times by DPD officer Clark
              Staller on March 10, 2013, even while Allen held both hands up;
             David Blair, also unarmed, was standing outside of his apartment on
              October 2, 2013, when for no lawful reason, a pair of DPD officers harassed
              him, approached him, and followed him to his apartment before shooting
              at him 14 times;
             Bobby Bennett, an unarmed man with mental challenges, was shot on
              October 14, 2013 by another DPD officer, who attempted to falsify a police
              report but a video exposed the attempted cover-up. Although the officer
              initially claimed Bennet lunged at him, the video showed otherwise;
             Kelvion Walker was still in a vehicle with his hands up when a DPD officer
              shot the 19-year-old on December 10, 2013;
              Bertrand Syjuan Davis, also unarmed, was fatally shot multiple times by
              DPD officer Matthew Terry on August 27, 2015, including once in the back.
              According to multiple witness accounts, immediately upon arriving at the
              scene, Officer Terry failed to conduct an objectively-reasonable assessment
              of the facts before drawing his gun and shooting Davis repeatedly, without
              any verbal warning and while there was no imminent threat of death or
              serious bodily injury to Officer Terry or any other person; and
             Genevive Dawes, also unarmed, was seated in a vehicle with Virgilio
              Rosales on January 18, 2017, when DPD officers Christopher Hess and Jason
              Kimpel fired at least 13 shots through the passenger side window where
              Rosales was seated, injuring Rosales and killing 21-year-old Dawes. Hess’s
              reasoning for firing at the vehicle was unsupported by body cam evidence
              that shows Dawes very slowly reversing the vehicle and in a direction that
              posed no threat of harm to anyone.

(Doc. 5 at ¶¶ 65—66). Plaintiffs allege that this unconstitutional policy was a moving force

behind Jean’s injury: “By simply following proper police procedures and the best police

practices and not the protocol of the DPD to ‘shoot first and ask questions later’,

Defendant Guyger would have not shot Jean.” (Id. at ¶ 20). Plaintiffs need not also

provide facts to show the City was deliberately indifferent with regard to the policy



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alleged, because deliberate indifference is presumed from a policy that is unconstitutional

on its face. Piotrowski, 237 F.3d at 579.10

           Additionally, at the pleading stage, Plaintiffs need only specify the topic of the

policy giving rise to the City’s liability. Sanchez, 283 F. Supp. 3d at 532; Flanagan, 48 F.

Supp. 2d at 947. Although the City contends that Plaintiffs alleged “the ‘kitchen sink’ of

generalized policies,” it admits that it understands the targeted policy: “[T]hat the DPD

had a constitutionally deficient policy on the use of deadly force.” (Doc. 7 at 10). The

City’s “shoot first and ask questions later” policy is precisely that. Given that, in Brown v.

City of Houston, the plaintiff’s identification of the relevant policy as the District

Attorney’s office’s “do whatever it takes” conviction culture was sufficient, Plaintiffs’

identification of the “shoot first, ask questions later” policy is more than adequate to

survive the City’s motion to dismiss. Brown, 297 F. Supp. 3d at 766.

                   b.      The City’s failure to train and discipline its officers on use of force.

           “All failure to act claims, such as [Plaintiffs’] failure to train, supervise, and

discipline claims, involve the same basic elements: inadequacy, deliberate indifference,

and causation.” Bond, 2016 WL 8672774, at *11. A failure to train officers with deliberate

indifference to citizens’ constitutional rights constitutes a policy or custom for the

purposes of municipal liability. Peterson v. City of Fort Worth, Tex., 588 F.3d 838, 849 (5th

Cir. 2009).




10   As shown below, however, the Plaintiffs’ allegations support the City’s deliberate indifference as well.


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       “Deliberate indifference” generally requires more than just a single instance that

causes a constitutional violation—rather, there needs to be some pattern of similar

violations that is so clearly inadequate as to be obviously likely to result in a constitutional

violation. Westfall v. Luna, 903 F.3d 534, 552 (5th Cir. 2018). “A pattern [of failing to

discipline officers] could evidence not only the existence of a policy but also official

deliberate indifference.” Piotrowski, 237 F.3d at 582. That is because policymakers’

“continued adherence to an approach that they know or should know has failed to

prevent tortious conduct by employees may establish the conscious disregard for the

consequences of their action.” Board of Cnty. Comm’rs of Bryan Cnty., Okl. v. Brown, 520

U.S. 397, 407 (1997) (noting that police may, “in exercising their discretion, so often violate

constitutional rights that the need for further training must have been plainly obvious to

the city policymakers, who, nevertheless, are ‘deliberately indifferent’ to the need.”). This

pattern also tends to show that the policymaker’s conduct, and not “factors peculiar to

the officer involved in a particular incident, is the ‘moving force’ behind the plaintiff's

injury.” Id. at 407–08.

       But even where such a pattern does not exist, a single incident of a violation may

support liability. Piotrowski, 237 F.3d at 579; Alvarez, 904 F.3d at 390. One violation,

“accompanied by a showing that a municipality has failed to train its employees to handle

recurring situations presenting an obvious potential for such a violation, could trigger

municipal liability.” Bryan Cnty, 520 U.S. at 409. Although narrow, this “single-incident

exception” generally applies where the facts giving rise to the violation are such that it

should have been apparent to the policymaker that a constitutional violation was the


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highly predictable consequence of the particular policy or custom. Westfall, 903 F.3d at

554. “The high degree of predictability may also support an inference of causation—that

the municipality’s indifference led directly to the very consequence that was so

predictable.” Bryan Cnty, 520 U.S. at 409–410. Such was the case in Grandstaff v. Borger,

where officers were “quick to fire” at the suspect and “recklessly killed” an innocent third

party in the process—conduct the Fifth Circuit has deemed “egregious.” See Westfall, 903

F.3d at 552 (quoting Grandstaff v. Borger, 767 F. 2d 161, 171 (5th Cir. 1985)).

       Alleging that the City has known of the need to enact policies and training

procedures in order to address a persistent problem with officers’ unlawful use of force

indicates that the City actually drew the inference that inadequacies in training or

discipline posed a substantial risk of the same constitutional injuries inflicted upon Jean.

Moreover, the Supreme Court has explained that factfinders may conclude that an

“official knew of a substantial risk from the very fact that the risk was obvious.” Farmer,

511 U.S. at 842. For instance, as the Farmer court illustrated:

       if an Eighth Amendment plaintiff presents evidence showing that a
       substantial risk of inmate attacks was “longstanding, pervasive, well-
       documented, or expressly noted by prison officials in the past, and the
       circumstances suggest that the defendant-official being sued had been
       exposed to information concerning the risk and thus ‘must have known’
       about it, then such evidence could be sufficient to permit a trier of fact to
       find that the defendant-official had actual knowledge of the risk.

Farmer, 511 U.S. at 842–43. It follows that, when a plaintiff alleges that a substantial risk

of police officers unlawfully using deadly force is “longstanding, pervasive, well-

documented, or expressly noted” by City officials in the past—and circumstances show




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that the City (the defendant here) has been exposed to such information—such facts

support actual knowledge of the risk. Id.

           Plaintiffs have unmistakably alleged that Guyger’s unlawful use of deadly force

against Jean was part of, and resulted from, the City’s decades-long pattern of failing to

train and discipline officers in the constitutional use of force. More specifically, Plaintiffs

allege past incidents of misconduct by both Guyger and other officers. To begin with,

Plaintiffs allege that “on July 24, 2012, DPD officer Brian Rowden fatally shot James

Harper as he ran away.” (Doc. 5 at ¶ 66). After James Harper’s death, former Dallas Police

Chief Brown announced that the DPD would employ numerous policies and procedures

intended to avoid such abuses.11 (Id. at ¶ 70).

           The unlawful police shootings, nevertheless, continue:



11   Among those policies and procedures were:
       Formalizing a process of concurrent investigative review with the FBI Civil Rights Office of all
         officer involved shootings in order to reassure the public that the DPD conducts detailed and
         comprehensive investigations and that the findings are based upon facts uncovered by the
         investigation (Doc. 5 at ¶ 70.a.);
       Implementing a more comprehensive Response to Resistance reporting system intended to assist
         in developing and refining tactics, training, and policy; and to provide public transparency
         regarding the amount of force officers take in the performance of their duties (Id. at ¶ 70.b.);
       Developing a foot pursuit policy that would provide officers with a foundation on which to make
         decisions during these high risk activities with the intent of reducing hazardous consequences and
         preventing, when possible, the escalation of action into lethal force confrontation (Id. at ¶ 70.c.);
       Re-implementing the Digital Video Recorder (DVR) Review Team as a training tool for the DPD
         while building public confidence that the DPD proactively examines officer performance to ensure
         compliance (Id. at ¶ 70.d.);
       Implementing a mandatory electronic control weapon (Taser) training policy for all officers, given
         that all officers trained with a Taser are now generally required to carry one (Id. at ¶ 70.e.);
       Enhancing the DPD’s consensual search policy to include the requirement for a written and/or
         recorded consent to create greater public confidence in the consensual searches performed by DPD
         Officers, and to protect officers against false allegations of illegal search (Id. at ¶ 70.f.); and
       Researching best practices that have come from critical incidents or institutional failures in public
         safety from around the nation to improve DPD’s internal training, policy, officer safety, and service
         delivery, incorporating recommendations from the 1988 Congressional Hearings that occurred in
         Dallas (Id. at ¶ 70.g.).


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             On March 10, 2013, DPD officer Clark Staller fatally shot unarmed Clinton
              Allen 7 times, despite Allen having his hands up;

             On October 2, 2013, two DPD officers shot at unarmed David Blair 14 times
              for no apparent reason after following Blair to his apartment for no lawful
              reason;

             On October 14, 2013, another DPD officer shot unarmed Bobby Bennett, a
              man with mental challenges;

             On December 10, 2013, a DPD officer shot unarmed Kelvion Walker while
              he was still in a vehicle with his hands up;

             On August 27, 2015, DPD officer Matthew Terry fatally shot unarmed
              Bertrand Davis several times in the back; and

             On January 18, 2017, DPD officers Christopher Hess and Jason Kimpel
              fatally shot at unarmed Genevive Dawes 13 times, fatally striking her 5
              times and injuring Virgilio Rosales while the two were still inside a vehicle
              and not an imminent threat of serious harm to anyone.

(Id. at ¶ 60). Several of these officers were not terminated or disciplined in the wake of

these events, despite video evidence and witness testimony showing that the officers

were not facing the imminent threat of serious harm required to justify using lethal force.

(Id.) (officers Staller, Terry, Hess, and Kimpel, for instance). For instance, Staller was

allowed to remain on as an officer and was not disciplined for the death of Allen. (Id.).

And, despite body cam footage showing that Hess and Kimpel shot at Dawes and Rosales

when facing no threat of imminent harm in violation of DPD policy, Kimpel was never

disciplined. (Id.). Hess was not terminated until almost seven months later when the case

became public, after which Hess was indicted for Dawes’ death. (Id.).

       In several cases, the officers were even permitted to attempt shielding evidence

showing facts contrary to the officers’ story. (Id.) (including the officer who shot Bennett,



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as well as officer Kimpel and officer Hess, who was later indicted for homicide). Staller

was even allowed to prepare his statement of the incident with the assistance of his

attorney and was not asked any questions to determine the veracity of his statements,

despite having previously falsified a police report in another incident. (Id.). The DPD and

the City also attempted to cover-up the unlawful shooting that killed Dawes until the

body cam footage was released to the Dallas District Attorney’s office almost six months

later. (Id.).

        Officer Guyger’s conduct, consistent with these other officers’ behavior in these

recurring encounters with civilians posing no immediate harm—and consistent with her

own prior conduct—is so egregious that the single-incident exception applies. Already in

her brief police career, Guyger had shot another unarmed minority prior to her encounter

with Jean. (Id. at ¶ 26). And, like other DPD officers, Guyger was permitted to hide

potentially unfavorable evidence on her social media accounts—even though her

publicly available posts violated the City’s DPD policies, for which she was never

disciplined. (Id.). Astoundingly, Guyger was even permitted to re-enter Jean’s apartment,

where the shooting occurred. (Id. at ¶ 22). When Guyger called 911 to report Jean’s

shooting, Plaintiffs also allege she made statements intended to bolster her story and to

counter any claim that her shooting was unjustified. (Id. at ¶ 16). This story, Plaintiffs

claim, was bolstered by statements anonymous DPD sources provided to the media,

claiming that physical evidence substantiated Guyger’s claims, even before fully

investigating that evidence. (Id. at ¶ 25). Guyger’s shooting of Jean was the predictable

result of the City’s failure to train or discipline its officers in how to respond to these


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recurring situations presenting an obvious potential for the violation that Guyger

committed against Jean. Such pleadings necessarily implicate the City’s indifference as

the direct cause of Guyger’s unjustified killing of Jean. Bryan Cnty, 520 U.S. at 409–410.

       The years of civilian deaths like Jean’s, which also have their origins in the City’s

training and disciplinary failures, allege “a pattern of similar constitutional violations”

more than adequate to give the City notice of Plaintiffs’ claims. See Peña v. City of Rio

Grande City, 879 F.3d 613, 623 (5th Cir. 2018). As alleged, Guyger shot Jean, without regard

to whether he posed any imminent threat of harm and without warning, resulting in

Jean’s death. (Doc. 5 at ¶¶ 18, 27, 71). This egregious consequence could hardly be

surprising under the DPD’s “shoot first, ask questions later” policy followed by Guyger

here and in previous incidents for which she was not disciplined. (Id. at ¶¶ 20, 64). Thus,

even this single incident shows the City’s deliberate indifference.

                      i.     The City’s failure to train its officers

       These repeated incidents demonstrate a failure on the part of the City to

adequately train—if at all—its officers on the proper use of force, and certainly satisfies

Plaintiffs’ pleading requirements at this stage of the proceedings. See Flanagan, 48 F. Supp.

3d at 947 (plaintiffs can provide fair notice by, among other things, describing past

incidents of misconduct by the defendant to others). Judge Lynn in Flanagan held that

plaintiffs stated a claim for failure-to-train by alleging that the City had notice of a pattern

of similar constitutional violations which were “fairly similar to what ultimately

transpired,” and that:




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       (1)    due to an acknowledged and obvious lack of training in the use of
              excessive force, DPD officers have shot dozens of unarmed
              individuals over the past several years based on the DPD's actual
              custom of “shoot first, ask later”;
       (2)    due to this lack of training, Officer Staller caused Allen’s death; and
       (3)    Councilman Caraway and Chief Brown have both acknowledged the
              need for further officer training.

Id. at 957. This is precisely what Plaintiffs allege here, stating that, as is evident from a

pattern of constitutional violations similar to that which resulted in Jean’s death:

       (1)    the Dallas Police Department “trains its officers to use deadly force
              even when there exist[s] no immediate threat to themselves or
              others” as part of its protocol to “shoot first and ask questions
              later”(Doc. 5 ¶ 20, 28);
       (2)    due to this lack of proper training, Officer Guyger caused Jean’s
              death (Id. at ¶¶ 39, 79); and
       (3)    former Chief Brown previously acknowledged the need for further
              officer training that the City has elected not to implement (Id. at ¶
              70).

       Not only do the facts alleged support the existence of a policy of using unlawful

deadly force where no imminent threat of harm exists, they also show a deliberate

indifference to the fatal constitutional violations that have continued to occur as a result.

Bryan Cnty., 520 U.S. at 407–08. This pattern of similar violations and misconduct further

demonstrates the causal link between the City’s policies of failures to train or discipline

its officers and the resulting constitutional injuries. Id. The need to ensure that police

officers are properly trained in the use of deadly force is obvious, as the United States

Supreme Court has observed:

       [C]ity policymakers know to a moral certainty that their police officers will
       be required to arrest fleeing felons. The city has armed its officers with
       firearms, in part to allow them to accomplish this task. Thus, the need to train
       officers in the constitutional limitations on the use of deadly force . . . can be said



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        to be “so obvious,” that failure to do so could properly be characterized as
        “deliberate indifference” to constitutional rights.

City of Canton v. Harris, 489 U.S. 378, 390 n.10 (1989) (emphasis added); see also Connick v.

Thompson, 563 U.S. 51, 63–71, (2011) (recognizing, but refusing to extend, the single-

incident principle); Bryan Cnty., 520 U.S. 397 (same).

        Here, Guyger’s use of a firearm in this manner and under these circumstances is

an archetypical use of deadly force, and it is clearly established law that shooting an

unarmed, unthreatening suspect is a Fourth Amendment violation which was plainly

foreseeable to the City when it failed to adequately train its officers. See, e.g., Brosseau v.

Haugen, 543 U.S. 194, 197 (2004). Plaintiffs allege that, despite this knowledge, the City

failed to adequately train its officers in:

                The use of proper and appropriate detention and seizure procedures;

                The use of excessive and/or deadly force;

                The proper use of less deadly means;

                The proper use of cover and the pursuit of a suspect; or in

                De-escalation tactics.

(Id. at ¶ 57).

        The City has known for decades that such institutional training failures have led

officers to use precisely the unlawful force that caused the same constitutional injuries

that resulted in Botham Jean’s death.12 Moreover, the Supreme Court has explained that



12 See pages 10–11 and 14–16 above, noting at least seven other instances of Dallas police officers shooting
citizens who posed no imminent threat of harm since 2012, despite Chief Brown and others identifying the




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the need for this training, which Plaintiffs plainly allege the City did not provide to any

of the DPD officers, is “so obvious” that even a single incident is sufficient to show

“deliberate indifference” on the part of the municipality. Harris, 489 U.S. at 390 n.10. And,

it is the lack of this exact type of training provided to these officers that was the “moving

force” behind Guyger’s shooting of Botham Jean—a highly predictable consequence of

the City’s persistent training failures. Thus, Plaintiffs state a claim for failure-to-train.

        The City now strains to characterize this list of training failures as “facially

deficient.” (Doc. 7 at 11). But the authority the City cites does not support this proposition.

See, e.g., Roberts v. City of Shreveport, 397 F.3d 287, 293 (5th Cir. 2005) (while evidence was

insufficient to raise a fact issue to prevent summary judgment, the court did not dispute

that alleging inadequate “training on deadly force,” including the requirement to issue a

warning first, would satisfy the pleading standards); see also, e.g., Bond, Civ. No. 1:16-CV-

068-C, 2017 WL 129019, at *4 (N.D. Tex. Jan. 13, 2017) (plaintiffs alleged only that

defendants “knew of the risks . . . posed by inadequate training” but alleged no specific

policy or topic related to training whatsoever); Spiller v. City of Tex. City Police Dept, 130

F.3d 162, 167 (5th Cir. 1997) (no claim of failure to train).

        Ultimately, however, to survive the City’s Rule 12(b)(6) motion, all Plaintiffs had

to do was identify the specific topic of the challenged training inadequacy. Sanchez, 283

F. Supp. 3d at 532; Flanagan, 48 F. Supp. 2d at 947. Having alleged that the City failed to

provide adequate training on the use of excessive and deadly force, proper arrest and



need for policies and training were necessary to address the City’s institutional training issues that lead to
these unlawful killings. (Doc. 5 at ¶¶ 66–70).


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confrontation techniques, and appropriate methods and techniques to control situations

like the one Guyger encountered on September 6, 2018, Plaintiffs more than satisfied this

burden. (Id. at ¶¶ 34-42, 57, 79).

                      ii.    The City’s failure to supervise and discipline its officers.

       Failure to supervise and discipline officers can also give rise to municipal liability.

“[M]unicipal policymakers who fail to supervise and to discipline their police officers,

acting with deliberate indifference to the citizen’s rights, could create municipal liability

if the lack of supervision causes a deprivation.” Milam v. City of San Antonio, 113 Fed.

Appx. 622, 628 (5th Cir. 2004). The Fifth Circuit in Milam explained:

       [E]ven though a policymaker’s response to a particular incident may not
       cause the injury, the response might provide evidence of the content of a
       municipality’s policies. That is, the failure to take disciplinary action in
       response to an illegal arrest, when combined with other evidence, could
       tend to support an inference that there was a preexisting de facto policy of
       making illegal arrests: the policymaker did not discipline the employee
       because, in the policymakers’ eyes, the employee’s illegal conduct actually
       conformed with municipal policy.

Id.

       The City’s response to Guyger’s shooting of Jean, as Plaintiffs have alleged it, is

also sufficient to support municipal liability. In pertinent part, Plaintiffs plead that, after

shooting a suspect of color previously, “Guyger was not required to undergo any mental

counseling and/or training after the first officer involved shooting she was involved in.”

(Doc. 5 at ¶ 26). Consistent with how the City has responded to other unlawful shootings,

Plaintiffs allege that:

       Despite having knowledge of Defendant Guyger’s violation of the DPD’s
       policies and other best police practice as described above, the City of Dallas,


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       the City Council and Chief Hall refused to adequately discipline Defendant
       Guyger. The City of Dallas’s failure to adequately supervise and/or
       discipline its officers was therefore the moving force behind Plaintiffs’
       damages.

(Id. at ¶ 86). Even if Guyger’s prior unlawful shooting did not result in death, Botham

Jean was not so fortunate. Had the DPD disciplined, retrained, or supervised Guyger

after the prior incident, Plaintiffs allege that Jean would be alive today. (Id. at ¶ 20).

       In the wake of Jean’s death, the City’s decision not to terminate Guyger until

prompted by public outcry further demonstrates its tacit approval of Guyger’s conduct.

The City’s ratification of Guyger’s conduct is further apparent from the facts that Guyger

was permitted to re-enter Jean’s apartment (and her own) after the shooting and to make

several phone calls before giving investigators her statement. (Doc. 5 at ¶ 22). Plaintiffs

further allege that the City spoliated evidence by permitting Guyger to scrub her social

media accounts. (Id. at ¶ 26). Despite initiating a homicide investigation immediately

after the shooting, including seeking a warrant for Jean’s apartment, the City did not

likewise seek a warrant for Guyger’s apartment, vehicle, or service locker—all of which

Plaintiffs note potentially held evidence relevant to the investigation. (Id. at ¶ 24).

       This pattern mirrors—indeed, exceeds—the City’s other failures to discipline

officers involved in unlawful shootings. A constitutional violation was the highly

predictable consequence of the DPD not adequately disciplining its officers, including

Guyger. This failure to discipline indicates that, in the City’s eyes, these officers’ illegal

conduct actually conformed with “the de facto policy of the DPD”—to use excessive force

without warning or attempt to de-escalate a situation where no imminent harm exists.



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(Id. at ¶ 27). Plaintiffs’ Complaint goes well beyond the minimal requirement to identify

the specific topic of the challenged inadequacy of the City to discipline or supervise its

officers. Sanchez, 283 F. Supp. 3d at 532; Flanagan, 48 F. Supp. 3d at 947.

D.     Alternatively, Plaintiffs ask that they be granted leave to amend any defects in
       their complaint if this Court is of the opinion that Plaintiffs’ claims against the
       City are deficient in any respect.

       As noted in detail above, Plaintiffs believe they have adequately pled sufficient

claims against the City. Thus, the City’s motion should be denied.

       However, in the event that this Court believes that Plaintiffs’ complaint is deficient

in some respect, Plaintiffs respectfully request that they be granted leave to amend their

complaint. Federal Rule of Civil Procedure Rule 15(a) mandates that “’leave to amend

shall be freely given when justice so requires,’ and should be granted absent some

justification for refusal.” U.S. ex rel. Willard v. Humana Health Plan of Tex. Inc., 336 F.3d

375, 386 (5th Cir. 2003) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). “If the

underlying facts or circumstances relied upon by a plaintiff may be a proper subject of

relief, he ought to be afforded an opportunity to test his claim on the merits.” Foman, 371

U.S. at 182. Thus, leave should be given unless some combination of the following factors

weighs heavily against amendment: (1) undue delay; (2) bad faith or dilatory motive; (3)

repeated failures to cure deficiencies by prior amendment; (4) undue prejudice to the

opposing party; and (5) the futility of the amendment. See U.S. ex rel. Hebert v. Dizney,

295 Fed. Appx. 717, 724 (5th Cir. 2008). Here, none of these factors are present and,

accordingly, if Plaintiffs’ allegations are deficient in some respect, Plaintiffs ask that they

be granted leave to amend their complaint.


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                                      III.     PRAYER

       For these reasons, Plaintiffs Bertrum Jean and Allison Jean, individually and as the

surviving parents of Botham Jean, and Allisa E. Findley, as the Administrator of the

Estate of Botham Jean, respectfully request that the City’s motion to dismiss be denied in

its entirety. Alternatively, to the extent this Court believes that Plaintiffs’ complaint is

lacking in any regard, then Plaintiffs request that they be given an opportunity to amend.

Plaintiffs further request such other relief to which they may be justly and equitably

entitled.

                                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2018, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of
Texas, using the electronic case filing system of the court. The electronic case filing
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